From the allegations of the petition it is apparent that a writ of mandamus is sought from this court commanding the Industrial Commission to do the same act which the Court of Common Pleas ordered and directed to be done in an action in which the *Page 161 
present relatrix was plaintiff and the commission was defendant.
The demurrer to the petition is therefore sustained, a writ of mandamus is denied and the petition is dismissed on authority of State, ex rel. Akron Coal Co., v. Board ofDirectors of Muskingum Watershed Conservancy District, 136 Ohio St. 485,  26 N.E.2d 766, the syllabus of which case reads:
"Where a prior action is pending between the same litigants, involving the same subject-matter, in a court having jurisdiction, a mandamus proceeding in another court is barred, unless it is plain that adequate relief is not obtainable in the prior case."
See, also, State, ex rel. First National Bank, NorthBaltimore, v. Village of Botkins, 141 Ohio St. 437,48 N.E.2d 865, 148 A. L. R., 205; State, ex rel. Brophy, v. City ofCleveland, 141 Ohio St. 518, 49 N.E.2d 175; State, ex rel.Waller, v. Industrial Commission, 143 Ohio St. 475, 55 N.E. (24), 800.
Writ denied and petition dismissed.
WEYGANDT, C.J., MATTHIAS, HART, ZIMMERMAN, BELL, WILLIAMS and TURNER, JJ., concur. *Page 162 